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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF VIRGINIA
                           Richmond Division




STEVES AND SONS, INC.,

      Plaintiff,

V.                                       Civil Action No. 3:20cv98


JELD-WEN, INC.,

      Defendant.




                                   ORDER


      Having considered STEVES AND SONS, INC.'S MOTION TO FILE ITS

MEMORANDUM IN OPPOSITION TO DEFENDANT JELD-WEN, INC.'S MOTION FOR

STAY OF INJUNCTION PENDING APPEAL UNDER SEAL (EOF No. 201), and

the   supporting    memorandum,   and   for   good   cause   shown, and   the

requirements of Local Civil Rule 5 and the decisions in Ashcraft,

et al. V. Conoco, Inc., 218 F.3d 288 (4th Cir. 2000), In re Knight

Publishing Co., 743 F.2d 231 (4th Cir. 1984) and Stone v. Univ. of

Maryland, 855 F.2d 178 (4th Cir. 1988) having been met, and the

plaintiff asserting that the document requested to be sealed is

designated confidential under the STIPULATED PROTECTIVE ORDER (EOF

No. 25) entered herein, it is hereby STEVES AND SONS, INC.'S MOTION

TO FILE ITS MEMORANDUM IN OPPOSITION TO DEFENDANT JELD-WEN, INC.'S

MOTION FOR STAY OF INJUNCTION PENDING APPEAL UNDER SEAL (EOF No.
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